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 9                     UNITED STATES DISTRICT COURT FOR THE
                 CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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      MARKETSOURCE, INC.,                   Case No. 8:20-cv-02204-JVS-KES
12
                        Plaintiff,
13                                          JUDGMENT GRANTING PLAINTIFF
            v.                              MARKETSOURCE, INC.’S MOTION
14                                          FOR SUMMARY JUDGMENT
      INCIPIO, LLC,
15
                        Defendant.
16
                                            Date: September 20, 2021
17                                          Time: 1:30 p.m.
18
                                            Complaint Filed: November 17, 2020
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                        [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     Case 8:20-cv-02204-JVS-KES Document 38 Filed 10/29/21 Page 2 of 3 Page ID #:327




 1                                            JUDGMENT
 2          Plaintiff MarketSource, Inc.’s Motion for Summary Judgment on the claims asserted
 3    in its Complaint and Defendant Incipio, LLC’s notice of non-opposition were taken under
 4    submission by the Court and the hearing, vacated. On October 6, 2021, the Court issued the
 5    following ruling.
 6          After considering the papers filed in support of and in opposition to the Motion and
 7    finding good cause therefore:
 8          IT IS HEREBY ORDERED THAT pursuant to Federal Rule of Civil Procedure 56:
 9          1.     MarketSource established every element of the breach of contract claim with
10    undisputed evidence. MarketSource’s motion is GRANTED as to its breach of contract
11    claim. MarketSource is, thus, entitled to judgement as a matter of law on its claim for
12    breach of contract in the amount of $869,531.93.
13          2.     The subject Master Services Agreement contract provides that attorney’s fees
14    and costs are available to the prevailing party in an arbitration but allows MarketSource the
15    option to seek recovery through court proceedings, which it did in this case.
16    MarketSource’s claim for attorney’s fees and costs is, therefore, DENIED.
17          3.     MarketSource is entitled to pre-judgment interest in the sum of $192,553.64.
18    MarketSource is also entitled to post-judgment interest which will begin accruing on the
19    total award of $1,062,086.57 upon entry of judgment if Incipio delays payment.
20    MarketSource’s claim for pre- and post-judgment interest is GRANTED.
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                           [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     Case 8:20-cv-02204-JVS-KES Document 38 Filed 10/29/21 Page 3 of 3 Page ID #:328




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 2            Accordingly, the Court orders entry of judgment of $869,532.93 in damages for
 3    breach of contract for MarketSource and against Incipio, and $192,553.64 in pre-judgment
 4    interest against Incipio. The Court also awards post-judgment interest on the total award of
 5    $1,062,086.57 upon entry of judgment.
 6            IT IS SO ORDERED.
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 8    Dated: October 29, 2021                 ____________________________________
 9                                                          James V. Selna
                                                            United States District Judge
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                           [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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